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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )                   8:05CR163
                 vs.                                )
                                                    )                   ORDER
JAZMIN CERNA,                                       )
                                                    )
                          Defendant.                )

        Defendant Jazmin Cerna (Cerna) appeared before the court on February 15, 2013, on the Petition
for Warrant or Summons for Offender Under Supervision (Petition) (Filing No. 389). Cerna was represented
by Assistant Federal Public Defender Julie B. Hansen and the United States was represented by Assistant
U.S. Attorney Kimberly C. Bunjer. Through her counsel, Cerna waived her right to a probable cause hearing
on the Petition pursuant to Fed. R. Crim. P. 32.1(a)(1). I find that the Petition alleges probable cause and that
Cerna should be held to answer for a final dispositional hearing before Chief Judge Laurie Smith Camp.
Cerna was to provide a urine specimen before determining whether she would be detained or whether she
would be released on conditions. Cerna accompanied the probation officer to the U.S. Probation Office but
absconded before providing the urine specimen. A warrant was issued for Cerna’s arrest (Filing 400).
        Cerna was arrested and appeared before the undersigned magistrate judge on February 27, 2013.
Cerna was represented by Assistant Federal Public Defender Richard McWilliams and the government was
represented by Assistant U.S. Attorney Nancy A. Svoboda. The government moved for detention. Cerna
declined to present any evidence or request a detention hearing. Since it is Cerna’s burden under 18 U.S.C.
§ 3143 to establish by clear and convincing evidence that she is neither a flight risk nor a danger to the
community, the court finds Cerna has failed to carry her burden and that Cerna should be detained pending
a dispositional hearing before Chief Judge Smith Camp.
        IT IS ORDERED:
        1.       A final dispositional hearing will be held before Chief Judge Laurie Smith Camp in Courtroom
No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 10:00
a.m. on March 14, 2013. Defendant must be present in person.
        2.       Defendant Jazmin Cerna is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        3.       Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel; and
        4.       Upon order of a United States court or upon request of an attorney for the government, the
person in charge of the corrections facility shall deliver defendant to the United States Marshal for the purpose
of an appearance in connection with a court proceeding.
        DATED this 28th day of February, 2013.

                                                            BY THE COURT:
                                                            s/ Thomas D. Thalken
                                                            United States Magistrate Judge
